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      1                      UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
      2                            SOUTHERN DIVISION

      3   UNITED STATES OF AMERICA,

      4                       Plaintiff,

      5        vs.                                       Case No. 05-81165

      6   KHAOPHONE SYCHANTHA,

      7                       Defendant.

      8   ___________________________/

      9                    JURY TRIAL - VOLUME 1 (EXCERPT)
                           BEFORE THE HONORABLE SEAN F. COX
    10                       United States District Judge
                       Theodore Levin United States Courthouse
    11                       231 West Lafayette Boulevard
                                   Detroit, Michigan
    12                        Thursday, October 10, 2024

    13    APPEARANCES:

    14    FOR THE PLAINTIFF:
                                 JASON DORVAL NORWOOD
    15                           THOMAS PATRICK MARTIN
                                 United States Attorney's Office
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                                 Detroit, Michigan 48226
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    18
          FOR THE DEFENDANT:
    19                           KHAOPHONE SYCHANTHA
                                 IN PRO PER
    20                           DAVID S. STEINGOLD
                                 (STANDBY COUNSEL)
    21                           Law Offices of David S. Steingold, PLLC
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    23
                                    -     -     -
    24                To obtain a certified transcript, contact:
                        April A. Kurtz, CSR-7347, RPR, FCRR
    25                        www.transcriptorders.com
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      1   Detroit, Michigan

      2   Thursday, October 10, 2024

      3   9:24 a.m.

      4                                     * * *

      5                THE CLERK:    All rise.

      6                The United States District Court for the Eastern

      7   District of Michigan is in session.            The Honorable Sean Cox

      8   presiding.

      9                You can be seated.

    10                 The Court calls Case Number 05-81165, United

    11    States of America versus Khaophone Sychantha.

    12                 Counsel, can I have appearances, please?

    13                 MR. NORWOOD:    Good morning, your Honor.         Jason

    14    Norwood on behalf of the United States.

    15                 THE COURT:    Good morning.

    16                 MR. MARTIN:    Good morning, your Honor.         Patrick

    17    Martin for the United States.

    18                 THE COURT:    Good morning as well.

    19                 DEFENDANT SYCHANTHA:       Good morning.       Khaophone

    20    Sychantha.

    21                 MR. STEINGOLD:     Good morning, your Honor.        David

    22    Steingold.    I want to advise the Court, I have my assistant

    23    coming in to work the computer.           She was actually out

    24    shopping for clothes -- to try to get some clothes for my

    25    client.    She'll be --
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      1               THE COURT:     Looks pretty good.

      2               MR. STEINGOLD:      Pardon me?

      3               THE COURT:     Looks pretty good right now.

      4               MR. STEINGOLD:      He does.     I told him he can't

      5   outdress me, but he went ahead and did it anyway.

      6               THE COURT:     The jury is ready to be brought up.

      7               My understanding, Mr. Sychantha has a motion.

      8               DEFENDANT SYCHANTHA:        Yes.

      9               I have a motion for counsel.

    10                THE COURT:     Motion for what?

    11                DEFENDANT SYCHANTHA:        Counsel.

    12                THE COURT:     You have standby counsel.

    13                DEFENDANT SYCHANTHA:        I know, but I want somebody

    14    to represent me.     I just want one under my file.

    15                THE COURT:     We went through that issue before.

    16                Noted.

    17                DEFENDANT SYCHANTHA:        All right.      Can I hand in to

    18    the Court anyway?

    19                THE COURT:     Of course you can.

    20                DEFENDANT SYCHANTHA:        Yes.    Here.

    21                THE CLERK:     I'll take it.

    22                THE COURT:     And again, at any point during the

    23    jury selection, you have Mr. Steingold, a very, very, very

    24    experienced lawyer.      You can consult with him.          And if you

    25    wish, he can step in and ask questions for you as well.
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      1               DEFENDANT SYCHANTHA:        Yes, your Honor.

      2               THE COURT:     Okay.    Jen, I'm ready whenever the

      3   jury comes up.

      4               THE CLERK:     Okay.    Court is in recess.

      5               (Off the record at 9:27 a.m.)

      6               (Jury selection held.)

      7               (Back on the record at 1:33 p.m.)

      8               THE COURT:     You have the schedule, trial schedule,

      9   right?

    10                MR. NORWOOD:     Yes, your Honor.

    11                MR. STEINGOLD:      Yes, your Honor.

    12                THE COURT:     So we'll argue the two motions in

    13    limine at 9:00 tomorrow.        It shouldn't last very long.      I

    14    think I'm pretty prepared for the motions in limine, but I

    15    want everybody here at 8:30, okay?

    16                MR. NORWOOD:     Yes, your Honor.

    17                MR. STEINGOLD:      Yes, your Honor.

    18                MR. NORWOOD:     Your Honor, just a couple questions.

    19                As far as when we're doing exam and opening

    20    statements and closing arguments, do you want us to do it

    21    from the table or do you want the podium?

    22                THE COURT:     What do you guys think?

    23                Marshals?

    24                MARSHAL:    I would prefer at the table just because

    25    --
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      1                THE COURT:    Can you live with at the table?

      2                MR. NORWOOD:    We can do it, your Honor.       We'll

      3   make it work.

      4                THE COURT:    All right.      Got it.

      5                MR. STEINGOLD:     Thank you, your Honor.

      6                MR. NORWOOD:    And then, your Honor, as far as the

      7   physical exhibits, we're going to show those to

      8   Mr. Sychantha after we're done today and we're going to

      9   bring them in for him to see.

    10                 THE COURT:    Yes, use his time.

    11                 MR. NORWOOD:    Thank you, your Honor.

    12                 You have one more thing, Pat?

    13                 THE COURT:    You can have the courtroom as long as

    14    you want.

    15                 MR. NORWOOD:    Thank you, your Honor.

    16                 MR. MARTIN:    Your Honor, just one last thing.

    17                 We do have the compulsion order application with

    18    the Court, and if the Court needs anything, more information

    19    from us --

    20                 THE COURT:    I have not looked at it yet.

    21                 MR. MARTIN:    That's fine, your Honor.

    22                 THE COURT:    My plan was to deal with it on Tuesday

    23    morning if we can do it.        It gives me time, okay?

    24                 MR. MARTIN:    That's fine, your Honor.

    25                 THE COURT:    So, right now, I'm shooting up to
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                                                                         Page 7
      1   Michigan State for an FBA event.           Well, it's not nice. it's

      2   all night and -- which I have to do, so...

      3                MR. MARTIN:    Understood, your Honor.          Tuesday is

      4   fine.    That's perfectly fine.

      5                THE COURT:    I wish I didn't, but I have to.          Okay.

      6                MR. MARTIN:    Thank you, your Honor.

      7                MR. NORWOOD:    Thank you, your Honor.

      8                (PROCEEDINGS CONCLUDED AT 1:36 p.m.)

      9                                   * * * * *

    10                         C E R T I F I C A T I O N

    11            I certify that the foregoing is a correct transcription

    12    of the record of proceedings in the above-entitled matter.

    13

    14    s/ April A. Kurtz, CSR-7347, RPR, FCRR                      10/23/2024
          April A. Kurtz, CSR-7347, RPR, FCRR                         Date
    15    Official Court Reporter

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